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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
                Plaintiff,    )                  8:10CR449
                              )
          v.                  )
                              )
ANDREA CARLSON,               )                        ORDER
                              )
                Defendant.    )
______________________________)


           This matter is before the Court on defendant’s motion

for permission to seal (Filing No. 102).              The Court finds the

motion should be granted.      Accordingly,

           IT IS ORDERED that defendant’s motion is granted; the

sentencing memorandum and exhibits shall remain sealed pending

further order of the Court.

           DATED this 23rd day of August, 2011.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
